Case:17-03283-LTS Doc#:24156-1 Filed:05/05/23 Entered:05/08/23 09:24:13   Desc:
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Case:17-03283-LTS Doc#:24156-1 Filed:05/05/23 Entered:05/08/23 09:24:13   Desc:
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Case:17-03283-LTS Doc#:24156-1 Filed:05/05/23 Entered:05/08/23 09:24:13   Desc:
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Case:17-03283-LTS Doc#:24156-1 Filed:05/05/23 Entered:05/08/23 09:24:13   Desc:
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Case:17-03283-LTS Doc#:24156-1 Filed:05/05/23 Entered:05/08/23 09:24:13   Desc:
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